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Business.CT.gov - Filing Number: 0012603714 - Filing Date: 4/10/2024 10:16:47 AM

Secretary of the State of Connecticut
3) Certificate of Authority

Foreign Stock Corporation

Filing Details
Filing Number: 0012603714 Filed On: 4/10/2024 10:16:47 AM
Primary Details

Name of Corporation in its State or Country of Formation:
LEGACY RENOVATIONS & POOL SERVICE INC

Business ALEI: US-CT.BER:2986720

Business Email Address: carmine@hfcpas.com

NAICS Information: All Other Specialty Trade Contractors
(238990)

State/Country of Incorporation: FLORIDA

Date of Incorporation: 03/22/2024

Duration: Perpetual

Date Corporation Began Transacting 04/10/2024
Business/Conducting Affairs in
Connecticut:

Required For-Profit Statement: The Corporation is for profit.

Business Location

Principal Office Address: 21 Diamond Ave, Bethel, CT, 06801-8009, United
States

Mailing Address: 21 Diamond Ave, Bethel, CT, 06801-8009, United
States

Appointment of Registered Agent

Type: Secretary of the State

The Foreign Corporation appoints the Secretary of the State of Connecticut and the
Secretary’s successors in office to be its Agent, upon whom any process, notice or
demand may be served.

Officer & Director Information

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Secretary of the State of Connecticut
Certificate of Authority

Foreign Stock Corporation

Name Designation — Title Business Address Residence Address

MARK Officer PRESIDEN None 1210 ORANGE

LIONETTI T HIBISCUS LN,
PALM BEACH, FL,
33418,

United States

Acknowledgement

| hereby certify and state under penalties of false statement that all the information set
forth on this document is true.

| hereby electronically sign this document on behalf of:

Name of Signatory: MARK LIONETTI - PRESIDENT
Signatory Title: N/A

Filer Name: Tiffany Vinci

Filer Signature: Tiffany Vinci

Execution Date: 04/10/2024

This signature has been executed electronically

Filing Number: 0012603714 Filed On: 4/10/2024 10:16:47 AM

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